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                                UNITED STATES DISTICT COURT
                               EASTERN DISTRICT OF LOUISIANA

    JEREMY SESSUMS, ET AL                                     CIVIL ACTION NO. 2:24-cv-00104
    Plaintiffs,

          vs.                                                 MAGISTRATE:
                                                               MICHAEL B. NORTH
    SHELL USA, INC., ET AL
                Defendants.

                SHELL OFFSHORE INC.’S EX PARTE MOTION FOR LEAVE TO
                    FILE SUR-REPLY MEMORANDUM IN SUPPORT OF
                          MOTION FOR SUMMARY JUDGMENT

        Defendant, Shell Offshore Inc. (“Shell”), respectfully seeks leave of Court to file the

attached Sur-Reply Memorandum in Support of Motion for Summary Judgment (Exhibit 1). The

proposed sur-reply is filed out of an abundance of caution and is limited to a rebuttal to arguments

raised within Plaintiffs’ proposed Amended and Supplemental Opposition to Summary Judgment

(R. Doc. 108-2). 1 Shell’s Motion for Summary Judgment is set for hearing before this Honorable

Court on March 20, 2025 at 11:00 a.m. The proposed sur-reply will not delay the proceedings,

prejudice the parties, or unduly burden the Court.

        WHEREFORE, Shell Offshore Inc. prays for an Order granting it leave to file the attached

Sur-Reply Memorandum in Support of Motion for Summary Judgment (Exhibit 1).




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  Given that the hearing on Shell’s Motion for Summary Judgment is set for March 20, 2025 and the submission date
for Plaintiffs’ Motion for Leave to File Amended and Supplemental Opposition is April 2, 2025, Shell seeks to file
its sur-reply in advance of the summary judgment hearing, out of an abundance of caution. In the event the Court
denies Plaintiffs’ request for leave, Shell’s sur-reply would no longer be necessary.
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Dated: March 17, 2025              Respectfully submitted,

                                   KUCHLER POLK WEINER, LLC

                                   /s/Mark E. Best
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